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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                 Eastern Division

Deborah A Smith, et al.
                                  Plaintiff,
v.                                                     Case No.: 1:25−cv−02614
                                                       Honorable Edmond E. Chang
Target Corporation
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 19, 2025:


        MINUTE entry before the Honorable Edmond E. Chang: Initial tracking status
hearing set for 04/04/2025 at 8:30 a.m. to track the case only (no appearance is required,
the case will not be called). Instead, the Court will set the case schedule after reviewing
the written status report. The parties must file a joint initial status report with the content
described in the ***ATTACHED*** status report requirements (do ***not*** use
templates from other cases) by 03/26/2025. Plaintiffs must still file the report even if
Defendant has not responded to requests to craft a joint report. If Defendant has not been
served, then Plaintiff must complete the part of the report on the progress of service. Also,
counsel (or the parties, if proceeding pro se) must carefully review Judge Chang's Case
Management Procedures, available online at ilnd.uscourts.gov (navigate to Judges /
District Judges / Judge Edmond E. Chang). Because the Procedures are occasionally
revised, counsel (or the party, if proceeding pro se) must read them anew even if the
counsel or the party has appeared before Judge Chang in other cases. Emailed notice (mw,
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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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